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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 LEDCOMM LLC,

                        Plaintiff,                            CIVIL ACTION
           v.                                                 NO. 21-03208

 WESTINGHOUSE LIGHTING
 CORPORATION,

                        Defendant.



                                          ORDER

       AND NOW, this 29th day of September 2021, upon consideration of Plaintiff’s Joint

Motion for an Extension of Time for Defendant to File an Answer (Doc. No. 11), it is ORDERED

that Plaintiff’s Motion (Doc. No. 11) is GRANTED. Defendant shall file a response by November

1, 2021.



                                                  BY THE COURT:


                                                   /s/ Joel H. Slomsky
                                                  JOEL H. SLOMSKY, J.
